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                                    M IA M ID IV ISIO N

                               CASE NO. 10-CR-20800-K1NG

  UN ITED STA TES OF AM ERICA ,

  V.

  DERR ICK HA RRELL,

        Defendant.
                                      /

            ORDER AFFIRM ING AND ADOPTING M AGISTRATE'S O RDER

        TH IS CA U SE com esbefore the Courtupon M agistrate Judge PeterR .Palerm o'sM arch 9,

  2012ReportandRecommendation(DE#220).Therein,MagistrateJudgePalermorecommendsthat
  court-appointed attorneyW illiam Barzeereceive$20,535.55asfairand finalcompensationforhis
  complex andextendedrepresentationofDefendantDenickHarrell.Afterathorough review ofthe

  record,theCourtconcludesthattheR&R containswell-reasoned recom mendations.

        Accordingly,theCourtbeing otherwisefully advised,itisORDERED,ADJUDGED

  andDECREED thatMagistrateJudgePeterR.Palermo'sMarch9,2012Reportand                        C
  Recommendation (DE #220)be,andthesameis,herebyAFFIRM ED and ADOPTED.
  Compensation intheam ountof$20,535.55* e approved by separateOrderoftheCourt.                  M-lr
                                                                                             ' o lX.
        D O N E AN D O R DER ED in cham bers atthe Jam es Law rence K ing FederalJustice
                                                          1t$A#N
  Building and United StatesCourthouse,M iam i,Florida,this    day ofM arch,2012.



                                                  J M ES LA REN CE K IN G
                                                   .S.DISTRICT JU D GE
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  CC:

  Counselforthe UnitedStates
  M ichaelE.G ilfarb
  United StatesAttorney'sOffice
  99NE 4 Street
  M iami,FL 33132
  305-961-9015
  Fax:530-7976
  Email:Michael.Gilfarb@usdoj.gov
  Arimentha R.W alldns
  United StatesAttorney'sOffice
  99 N E 4 Street
  M iami,FL 33132
  305-961-9091
  Fax:305-536-7599
  Email:arimentha,walkins@usdoj.gov
  Roy A ltm an
  United StatesAttorney'sOffice
  99 N E 4 Street
  M iam i,FL 33132
  Email:Roy.altman@ usdoj.gov

  CounselforDqfendant

  W illiam R .B arzee
  Courthouse Center
  40NW Third Street
  Penthouse 1
  M iami,FL 33128
  305-374-3998
  Fax:374-3985
   Email:williambrzee@brzeeiores.com
